Case 3:21-cv-05051-MDH Document 1-1 Filed 06/02/21 Page 1 of 15
From:                         sop <sop@cscinfo.com>
Sent:                         Thursday, May 6, 2021 11:24 AM
To:                           Timothy Scanlan
Subject:                      Notice of Service of Process - Transmittal Number: 23160492 [External Sender]


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 NOTICE OF SERVICE OF PROCESS

 Transmittal Number: 23160492
 (Click the Transmittal Number to view your SOP)

 Pursuant to client instructions, we are forwarding this summary and Notice of Service of Process.


 Entity:                         Omega Flex, Inc.


                                                       1
              Case 3:21-cv-05051-MDH Document 1-1 Filed 06/02/21 Page 2 of 15
Entity I.D. Number:             1693987
Entity Served:                  Omega Flex, Inc.
Title of Action:                Michael Sharrock vs. Omega Flex, Inc.
Matter Name/ID:                 Michael Sharrock vs. Omega Flex, Inc. (11207499)
Document(s) type:               Summons/Complaint
Nature of Action:               Product Liability
Court/Agency:                   Vernon County Circuit Court, Missouri
Case/Reference No:              21VE-CV00200
Jurisdiction Served:            Pennsylvania
Date Served on CSC:             05/04/2021
Answer or Appearance Due: 30 Days
Originally Served On:           CSC
How Served:                     Personal Service


Sender Information:
Michael B. Hill
314-863-5200


Primary Contact:
Mr. Timothy Scanlan
Omega Flex, Inc.

To review other documents in this matter, please link to CSC's Matter Management Services at
www.cscglobal.com




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attached document(s). It does not constitute a legal opinion. The recipient is responsible for
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                          251 Little Falls Drive, Wilmington, Delaware 19808-1674
                                    (888) 690-2882 | sop@cscglobal.com




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             Case 3:21-cv-05051-MDH Document 1-1 Filed 06/02/21 Page 3 of 15
                                                   SHERIFF'S OFFICE OF DAUPHIN COUNTY
                                                                                                                   SHERiF,~ .                                                                                            Jack Duignan
Nicholas Chimienti, Jr.
Sheriff                                                                                                    ~'      ~E ~             8    ~   `                                                                            Chief Deputy
                                                                                                         ~~~. :I-                   `•


David B. Dowling                                                                                            °.y      =785                                                                                       David E. Olweiler
Solicitor                                                                                                      GjOti/N ~                                                                                       Rea/ Estate Deputy


   MICHAEL SHARROCKAND MAUREEN SHARROCK                                                                                                                                                              Case Number
         vs.                                                                                                                                                                                          2021-T-1157
   OMEGA FLEX, INC.

                                                                                      SERVICE COVER SHEET
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     Manner: ;Adult in Charge                                                                                               Expires:               05/21/2021 ;                      Warrant:
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   Name:                  IOMEGA FLEX, INC.                                                                                        Served:              Personally • Adult In Charge Posted - Other
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   Primary aC/O CSC, 2595 INTERSTATE DRIVE ^~                                                                                      Adult ►n           ;
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                                  DOB:                                                                                             Relation: °
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                                                                             lrf0. 06/02/21 Page 4 of 15
     r.

    ~            IN THE 28TH JUDICIAL CIRCUIT, VERNON COUNTY, MISSOURI

Judge or Division:                                            Case Number: 21VE-CV00200
DAVID R. MUNTON
Plaintiff/Petitioner:                                         PlaintifYs/Petitioner's Attorney/Address:                            FILED
                                                                                                                              Vernon County
MICHAEL RAY SHARROCK                                          MICHAEL BRYAN HILL
                                                                                                                               Circuit Court
                                                              7730 CARONDELET AVE                                            4/21/2021 05:02 PM
                                                              STE 147
                                                        vs.   CLAYTON, MO 63105
Defendant/Respondent:                                         Court Address:
OMEGA FLEX, INC.                                              VERNON COUNTY COURTHOUSE
Nature of Suit:                                               100 WEST CHERRY, SUITE 15
CC Property Damage                                            NEVADA, MO 64772
                             Summons for Personal Service Outside the State of Missour'i
                                                                   F►ttacnment ActIo
 The State of Missouri to: OMEGA FLEX, INC.
                          Alias:
 CORPORATION SERVICE COMPANY
 2595 INTERSTATE DRIVE, #103
 HARRISBURG, PA 17110
        COURT SEAL OF            You are summoned to appear before this court and to file your pleading to the petition, copy of
                R?,o-            which is attached, and to serve a copy of your pleading upon the attorney for the
        ~          -• N          plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                      a          you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                                 taken against you for the relief demanded in this action.
        ~                                             4-21-2021                                                      7
    VERNON COUNTY                                    Date                                                           ,(

                                                 Officer's or Server's Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or ten-itory where the above summons was served.
     2. My official title is                                              of                             County,                      (state).
     3. 1 have served the above summons by: (check one)
          ❑     delivering a copy of the summons and a copy of the petition to the defendant/respondent.
          ❑     leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with                                             , a person of the defendant's/respondent's family
                over the age of 15 years who permanently resides with the defendant/respondent.
          ❑     (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                        (name)                                                       (title).
            ❑     other:
     Served at                                                                                                                       (address)
     in                                         County,                     (state), on                      (date) at                  (time).


                      Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                Subscribed and sworn to before me this                    (day)                      (month)            (year).
                                   I am: (check one) ❑ the clerk of the court of which affiant is an officer.
                                                        ❑ the judge of the court of which affiant is an officer.
                                                        ❑ authorized to administer oaths in the state in which the affiant served the above
            (Seal)
                                                           summons. (use for out-of-state officer)
                                                        ❑ authorized to administer oaths. (use for court-appointed server)

                                                                                                      Signature and Title
    Service Fees
    Summons           $
    Non Est           $
    Mileage           $                          (                   miles @ $            per mile)
    Total             $
                               See the following page for directions to offlcer making return on service of summons.


OSCA (07-18) SM60 (SMOS) ForCourt Use Only. Document ID# 21-SMOS-8                 1 of 2(21VE-CV00200)               Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                              506.500, 506.510 RSMo
                      Case 3:21-cv-05051-MDH Document 1-1 Filed 06/02/21 Page 5 of 15
                           Directions to Officer Making Return on Service of Summons

    A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
    defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
    prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
    defendant's/respondent's refusal to receive the same.

    Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
    legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
    leaving a copy of the summons and motion at the individual's dwelling house or usual place of abode with some
    person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
    a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
    process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
    a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
    Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
    the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
    business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
    registered agent or to any other agent authorized by appointment or required by law to receive service of process;
    (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

    Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
    territory where such service is made.

    Service may be made in any state or territory of the United States. If served in a territory, substitute the word
    "territory" for the word "state."

    The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
    the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
    manner of service, the official character of the affiant, and the affiant's authority to serve process in civil actions
    within the state or territory where service is made.

    Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
    appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
    30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only. Document ID# 21-SMOS-8      2 of 2(21VE-CV00200)         Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                              506.500, 506.510 RSMo
                  Case 3:21-cv-05051-MDH Document 1-1 Filed 06/02/21 Page 6 of 15
                                                                               21VE-CV00200

               IN THE CIRCUIT COURT OF VERNON COUNTY, MISSOURI


MICHAEL SHARROCK and
MAUREEN SHARROCK,

       Plaintiffs,

vs.                                                  Case Number

OMEGA FLEX, INC.,

       Defendant.

                     PLAINTIFFS' ORIGINAL PETITION FOR DAMAGES

       COME          NOW,   MICHAEL        SHARROCK          AND     MAUREEN         SHARROCK
("Plaintiffs"), by and through their attorneys of record, and complains of OMEGA FLEX, INC.
("Omega Flex" or "Defendant") and for cause of action would respectfully show the Court as
follows:

                         I. PARTIES, VENUE AND JURISDICTION

1.     Plaintiffs, MICHAEL SHARROCK AND MAUREEN SHARROCK, are individuals
of majority age, residing in the state of Missouri, and can be reached through counsel herein.

2.      Defendant OMEGA FLEX, INC. is a foreign corporation formed and existing under the
laws the State of Pennsylvania. Defendant Omega Flex, at all relevant time, has engaged in
      of
business in the State of Missouri, as more particularly described below. Defendant does not
maintain a place of business in Missouri and has no designated agent on whom service of citation
may be made in this case. The cause of action arose from and are connected with the purposeful
acts committed by Defendant in Missouri because Defendant advertised, sold and delivered the
Corrugated Stainless Steel Tubing ("CSST") that is the subject of this litigation to distributors and
entities in the State of Missouri. Accordingly, Defendant may be cited by serving a copy of this
Petition by serving its registered agent: Corporation Service Company, 2595 Interstate Drive,
Suite 103, Harrisburg, PA 17110.

3.     The "Properry" is located at 16039 S. 1100 Road, Nevada, Missouri 64772.

4.     Venue of this suit is proper in Vernon County, Missouri pursuant to Section 508.010(4) of
the Missouri Revised Statutes for the reason that Plaintiffs were first injured by the wrongful acts
and negligent conduct of Defendant in Vernon County.
5.     The Court has jurisdiction over this matter because the amount in controversy exceeds

PLAINTIFF'S ORIGINAL PETITION FOR DAMAGES — Page 1


       Case 3:21-cv-05051-MDH Document 1-1 Filed 06/02/21 Page 7 of 15
$25,000.00.

                             II. STRICT PRODUCTS LIABILITY

6.     This case involves a products liability cause of action which arises from the design,
manufacturing, a.nd marketing defects of corrugated stainless steel tubing (commonly known and
referred to as "CSST") that was installed in the home located at 16039 S. 1100 Road, Nevada,
Missouri 64772 (the "Property"), which was owned by Plaintiffs (hereinafter referred to also as
the "CSST," "product" or "product in question").
7.     The CSST, which is further identified as yellow jacketed TracPipe brand CSST was
manufactured, designed, marketed, and/or distributed by Defendant, was installed at the Property
in or about 2005. The CSST product was designed and intended as a substitute flexible gas
delivery system to the more robust black iron pipe.
8.     At all times relevant to this matter, Defendant was engaged in the business of designing,
manufacturing, marketing, and distributing CSST products in Missouri, as well as across the
United States, where the product has now been installed in well over six million (6,000,000) homes
and businesses.

                                             III. FACTS

9.     At all times relevant hereto, Plaintiffs were the owners of the residence located at 16039 S.
1100 Road, Nevada, Missouri 64772 (the "Property"). The Property underwent a large remodel
in or around 2005, which is when the CSST was installed in the Property. At all times relevant to
this lawsuit, Defendant Omega Flex was the manufacturer and/or distributor of the CSST that was
installed in the Property at the time of the fire.
10.     On May 7, 2019, a fire erupted in the Property. 9-1-1 was called, and when the fire
department arrived they encountered dark, heavy smoke at the Property. Although the fire was
eventually extinguished, the fire and the resulting fire suppression activities caused extensive
damage to the Property and the personal property therein. When the Property was inspected, it
was determined that lightning had struck at or near the Property, and a hole was discovered in the
CSST at issue that was in the area of origin of the fire on the north side of the Property, near the
roof line.



PLAINTIFF'S ORIGINAL PETITION FOR DAMAGES — Page 2


       Case 3:21-cv-05051-MDH Document 1-1 Filed 06/02/21 Page 8 of 15
11.    It is widely known that the electrical charge produced by lightning can be distributed across
CSST and ultimately cause it to fail as a result of one or more punctures in the thin-walled CSST.
The punctures in the CSST allow natural or propane gas to escape which ignites and fuels the fire
and/or explosion. Manufacturers and distributors of CSST, like Defendant, have known about this
failure scenario for years, yet they continued to sell this dangerous product, even in areas where
there is a heightened risk of lightning strikes, including Missouri.

             IV. CAUSES OF ACTION AGAINST DEFENDANT OMEGA FLEX

                                COUNT ONE -- NEGLIGENCE


12.     Plaintiffs incorporate the foregoing paragraphs by reference as though fully set forth herein.
13.     Plaintiffs,would show that on the occasion in question, Defendant owed a duty to exercise
ordinary care in the design, preparation, manufacture, and sale of their CSST product. The CSST
product in question was defective and unsafe for its intended purposes at the time it left the control
of Defendant and at the time it was installed in the Property. The CSST product was defective in
that it failed to conform to the product design and specifications of other similar products. But for
such occurrence, the probability that Defendant's product would fail would have been lessened. _
Defendant breached this duty and, as a direct and proximate result of its negligence, caused
Plaintiff to suffer injury.
14.     The negligent acts and/or omissions on the part of Defendant include, but are not limited
to, the following:
        a.      Supplying the defective CSST product in question which Defendant knew, or
                should have known, subjected property and lives to an unreasonable risk of harm;

        b.      Supplying the CSST product in question to distributors, suppliers, and installers
                with the knowledge that the CSST product was prone to fail due to its inferior wall
                thickness, was defective and unreasonably dangerous to persons and property;

                Failing to warn the public, specifically including Michael Sharrock, of the defective
                condition of the CSST product, which it knew created an unreasonable risk of harm
                to real and personal property, and/or failed to warn the public and Plaintiffs that the
                CSST product was prone to fail when subjected to the electrical charge from
                lightning;

        d.      Failing to conduct sufficient research and development for the CSST product before
                introducing it into the U.S. stream of commerce;

PLAINTIFF'S ORIGINAL PETITION FOR DAMAGES — Page 3


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        e.     Failing to provide, establish and/or follow proper and adequate controls and/or
               procedures so as to ensure the safety and integrity of the CSST product in the
               marketplace;

       f.      Failing to design, construct, fabricate, inspect and/or test the CSST product in
               question in conformity with the prevailing industry and national standards,
               including, but not limited to, lightning strike testing;

       g.      Failing to desxgn the outer jacket of the CSST product so that it would efficiently
               dissipate the electrical charge produced by a direct or indirect lightning strike;

       h.      Failing to institute a safer alternative design for the CSST product;

               Failing to mandate the use of a lightning protection system on structures where the
               CSST product is installed;

       j.      Failing to disseminate to consumers, specifically including Plaintiffs, and other
               intermediaries adequate instructions addressing ways to protect the CSST product
               from lightning and other common household electricity;

       k.      Failing to test the CSST product to ensure its integrity and ability to withstand the
               electrical charge emitted from a lightning strike without being compromised;

       1.      Failing to warn consumers, specifically including Plaintiffs, and intermediaries that
               a 6 AWG bonding/jumper wire will not sufficiently dissipate the electrical charge
               emitted from a lightning strike;

       M.      Failing to warn consumers, specifically including Plaintiffs, and intermediaries,
               that lightning induced CSST failures can cause fires and loss of life;

       n.      Failing to warn consumers, specifically including Plaintiffs, that the yellow jacket
               encasing the CSST actually focuses the energy from lightning onto the CSST
               leading to perforations, arcing and fire;

       o.      Otherwise, failing to use due care in manufacturing and marketing the CSST
               product to consumers, specifically including Plaintiffs; and

       P.      Failing to make safe all premises known to have used CSST gas plumbing by
               recalling the product for replacement with a safer alternative design.

15.    Each of the above-referenced acts and omissions, either singly and/or in combination with
others, constitutes negligence on the part of Defendant, which proximately caused damage to
Plaintiffs in an amount in excess of the minimum jurisdictional limits of this court.


PLAINTIFF'S ORIGINAL PETITION FOR DAMAGES — Page 4



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Failure to Warn

16.    Plaintiffs would show further that Defendant has an ongoing duty to warn consumers
(present and past) of the inherent dangers in the CSST product, to wit: failure of the CSST product
will occur when an electrical charge from a direct or indirect lightning strike travels across the
product. Despite Defendant knowing that its CSST product is prone to perforations or damage
from the electrical charge produced by lightning they have failed to warn and/or provide adequate
warnings to consumers, including Plaintiffs, about the defect in its CSST product.
17.    Defendant has an absolute duty to warn consumers, and Plaintiffs in particular, of the
possibility of failure of the CSST product in certain circumstances and had an ongoing duty to
provide adequate warnings to all persons who have this product in their home or business
conceming the use of its CSST product in the absence of known and readily available safeguards
such as a lightning protection system. Defendant has not provided any safety warnings directly to
consumers, including Plaintiffs.
18.    Defendant has had actual knowledge of the danger that its CSST product was failing from
the electrical charge emitted from lightning strikes, and has done nothing to modify its product
with appropriate safeguards to ensure against continued failures, has done nothing to warn the
public and intermediaries of the real dangers associated with its CSST product and lightning, and
has refused to recall this dangerous product from the market place. Plaintiffs allege that any
warnings or instructions that relate to the CSST product were not provided to Plaintiffs by any
person in the stream of commerce.
19.    Plaintiffs would show that the negligent acts and/or omissions on the part of Defendant
were the proximate cause of damages in an amount within the jurisdictional limits of this Court.


                            COUNT TWO -- STRICT LIABILITY
20.    Plaintiffs incorporate the foregoing paragraphs by reference as though fully set forth herein.
21.    The CSST product in question was defective and unsafe for its intended purposes at the
time it left the control of Defendant and at the time it was installed in the Property. Defendant
knew that its CSST product was defective and that it presented the probability of harm to any
foreseeable users unless it was free from defects. Therefore, Defendant had a duty to foreseeable
users, and to Plaintiffs in particular, to inspect the CSST product in question to determine whether


PLAINTIFF'S ORIGINAL PETITION FOR DAMAGES — Page 5



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it would be reasonably fit for its intended purposes and warn or give fair and adequate notice to
consumers of the inherently dangerous condition which existed as a result of its defective product.
22.    A defect existed in the CSST product at the time it left the possession of Defendant that
was a producing cause of the occurrence in question and the injuries, and damages set forth herein.
The defect rendered the CSST product in question unreasonably dangerous as designed, taking
into consideration the utility of the product and the risk involved in its use. A safer alternative
design has existed for decades in the form of black iron pipe that would have eliminated the risk
of the occurrence in question without substantially impairing the product's utility and was
economically and technologically feasible at the time the product left the control of Defendant by
the application of existing or reasonably achievable scientific knowledge. Defendant's CSST
product, in comparison to black iron pipe, has substantially greater susceptibility to perforation by
lightning-induced energy than does black iron pipe, rendering Defendant's product defective and
posing substantially greater fire hazard and loss of property and life.

Safer Alternative I)esign

23.    There exist multiple different and better safer alternative designs to the thin-walled CSST
product.
24.    Defendant could have implemented one or more safer alternative designs including, but
not necessarily limited to, incorporating a metallic shield running the length of the CSST ("safer
alternative design"). The safer alternative design would have prevented the electrical charge from
the lightning strike, whether direct or indirect, from traveling on the surface of the thin-walled
CSST which, in turn, would have prevented the electric charge from perforating the CSST arid
igniting a fire. Among the safer alternative designs is black iron pipe; in the lightning event
relevant to this case, the black iron pipe demonstrated its safety relative to the CSST when it
remained viable and un-compromised after the lightning strike.
25.     Any one of the safer alternative designs mentioned herein would have prevented or
significantly reduced the risk of damage to the Property from the CSST product without
substantially impairing the product's utility. Additionally, including one or more of the safer
alternative designs with the CSST was economically and technologically feasible at the time the
product left Defendant's control based on the research and scientific knowledge possessed by
Defendant.

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26.     Plaintiffs were unaware of the defects inherent in the CSST product in question or of any
danger that could result from the use thereof at the time he used the CSST product in question.
These defects were the proximate and the producing cause of Plaintiffs' damages. Such being the
case, Plaintiffs invoke the doctrine of strict liability in tort.


           COUNT THREE — BREACH OF EXPRESS AND IMPLIED WARRANTY

27.     Plaintiffs incorporate the foregoing paragraphs by reference as though fully set forth herein.
28.     Defendant held out to the general public, and to Plaintiffs specifically, that the CSST
product in question would conform with the qualities of the same or similar products. As a result
of Defendant's actions, Defendant breached an express warranty they made.
29.     Defendant held out to the general public, and to Plaintiffs specifically, that the CSST
product in question would be suitable for its ordinary purpose and intended use and that the product
would be of inerchantable quality. As a result of Defendant's actions, Defendant breached an
implied warranty of inerchantability and usage of trade.
30.     Plaintiffs have suffered the damages set forth herein as a result of Defendant's breach of
the foregoing warranties and pleads for recovery of all damages, both actual and consequential, to
which they are entitled under Missouri law.

                                            V. DAMAGES
31.     Plaintiffs incorporate the foregoing paragraphs by reference as though fully set forth herein.
32.     As a result of Defendant's negligence, strict liability and breach of express and implied
warranties, Plaintiffs sustained damage to their real and personal property in an amount within the
jurisdictional limit of this Court. A$er allowing for all just and lawful offsets, payments, and
credits, Defendant continues to be indebted to Plaintiffs.
33.     Plaintiffs hereby assert their claim for damages as described above. All conditions
precedent to Plaintiffs' recovery hav,e been performed or have occurred as required.


                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs requests that Defendant
OMEGA FLEX, INC. be cited to appear and answer herein, and that on final hearing, Plaintiffs
recover:

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      1.     A judgment against Defendant for actual damages in the amount that is fair and
             reasonable;

      2.    A judgment against Defendant for pre- and post judgment interest as allowed by
            law;

            A judgment against Defendant for such other and further relief, both general and
            specific, in equity and at law, to which Plaintiffs may be justly entitled.

                                                Respectfully submitted,



                                                MCMAHON HILL, LLC.


                                                /s/ Michael B. Hill
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